Case 1:17-cv-01133-I\/|N Document 45 Filed 09/25/18 Page 1 of 1 Page|D #: 1125

IN Tl-IE UNlTED STATES DISTRICT COURT
FOR TI-lE DlSTRlCT OF DELAWARE

CYPRESS LAKE SOFTWARE, INC.,
Plaintiff,
v. C.A. No. l?-l l33-MN

LG ELECTRON|CS U.S.A., lNC.,

De fendant.

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ORDER OF DISMISSAL WITH PREJUDICE

Pursuant to Fed. R. Civ. P. 4l(a), recognizing the Stipulation ofDismissal filed by
plaintiff Cypress Lal<e Soitware, Inc., and defendant LG Electronics U.S.A., Inc. pursuant to a
settlement of the above-captioned litigation between the parties, it is ordered as follows:

ORDE`,RED that the claims asserted herein by plaintiff against defendant be, and hereby
are, dismissed with prejudice;

ORDERED that the counterclaims and defenses asserted herein by defendant against
plaintiff be, and hereby are, dismissed with prejudice; and

ORDERED that the parties shall bear their own attorneys’ fees, expenses and costs.

~““ /Q.,
SO ORDERED, this 25 day of , 2018.

 

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United States Dis rict Judge

